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                                 EXHIBIT D

                                Proposed Order
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                             UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF PUERTO RICO

In re:                                                           PROMESA
                                                                 Title III
THE FINANCIAL OVERSIGHT AND
MANAGEMENT BOARD FOR PUERTO RICO,                                No. 17 BK 3283-LTS
          as representative of                                   (Jointly Administered)
THE COMMONWEALTH OF PUERTO RICO, et
al.,                                                             This filing relates to the
                     Debtors. 1                                  Commonwealth, HTA and ERS.


    ORDER GRANTING THREE HUNDRED FIFTY-FIRST OMNIBUS OBJECTION (NON-
    SUBSTANTIVE) OF THE COMMONWEALTH OF PUERTO RICO, THE PUERTO RICO
       HIGHWAYS AND TRANSPORTATION AUTHORITY, AND THE EMPLOYEES
     RETIREMENT SYSTEM OF THE GOVERNMENT OF THE COMMONWEALTH OF
           PUERTO RICO TO PARTIAL DUPLICATE LITIGATION CLAIMS

                 Upon the Three Hundred Fifty-First Omnibus Objection (Non-Substantive) of the

Commonwealth of Puerto Rico, the Puerto Rico Highways and Transportation Authority, and the

Employees Retirement System of the Government of the Commonwealth of Puerto Rico to Partial

Duplicate Litigation Claims (“Three Hundred Fifty-First Omnibus Objection”) 2 of the



1
    The Debtors in these Title III Cases, along with each Debtor’s respective Title III case number
    and the last four (4) digits of each Debtor’s federal tax identification number, as applicable, are
    the (i) Commonwealth of Puerto Rico (the “Commonwealth”) (Bankruptcy Case No. 17 BK
    3283-LTS) (Last Four Digits of Federal Tax ID: 3481); (ii) Puerto Rico Sales Tax Financing
    Corporation (“COFINA”) (Bankruptcy Case No. 17 BK 3284-LTS) (Last Four Digits of Federal
    Tax ID: 8474); (iii) Puerto Rico Highways and Transportation Authority (“HTA”) (Bankruptcy
    Case No. 17 BK 3567-LTS) (Last Four Digits of Federal Tax ID: 3808); (iv) Employees
    Retirement System of the Government of the Commonwealth of Puerto Rico (“ERS”)
    (Bankruptcy Case No. 17 BK 3566-LTS) (Last Four Digits of Federal Tax ID: 9686); (v) Puerto
    Rico Electric Power Authority (“PREPA”) (Bankruptcy Case No. 17 BK 4780-LTS) (Last Four
    Digits of Federal Tax ID: 3747); and (vi) Puerto Rico Public Buildings Authority (“PBA”, and
    together with the Commonwealth, COFINA, HTA, ERS, and PREPA, the “Debtors”)
    (Bankruptcy Case No. 19-BK-5523-LTS) (Last Four Digits of Federal Tax ID: 3801) (Title III
    case numbers are listed as Bankruptcy Case numbers due to software limitations)
2
    Capitalized terms not otherwise defined herein shall have the meanings given to such terms in
    the Three Hundred Fifty-First Omnibus Objection.
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Commonwealth of Puerto Rico (the “Commonwealth”), the Puerto Rico Highways and

Transportation Authority (“HTA,”) and the Employees Retirement System of the Government of

the Commonwealth of Puerto Rico (“ERS,” and together with the Commonwealth and HTA, the

“Debtors”), dated June 18, 2021, for entry of an order partially disallowing certain claims filed

against the Debtors, as more fully set forth in the Three Hundred Fifty-First Omnibus Objection

and supporting exhibits thereto; and the Court having jurisdiction to consider the Three Hundred

Fifty-First Omnibus Objection and to grant the relief requested therein pursuant to PROMESA

section 306(a); and venue being proper pursuant to PROMESA section 307(a); and due and proper

notice of the Three Hundred Fifty-First Omnibus Objection having been provided to those parties

identified therein, and no other or further notice being required; and the claims identified in the

column titled “Claims to be Partially Disallowed” in Exhibit A to the Three Hundred Fifty-First

Omnibus Objection (collectively, the “Claims to Be Partially Disallowed”) being duplicative, in

part, of the Litigation Master Claims; and the Court having determined that the relief sought in the

Three Hundred Fifty-First Omnibus Objection is in the best interest of the Debtors, their creditors,

and all the parties in interest; and the Court having determined that the legal and factual bases set

forth in the Three Hundred Fifty-First Omnibus Objection establish just cause for the relief granted

herein; and after due deliberation and sufficient cause appearing therefor, it is

                ORDERED that the Three Hundred Fifty-First Omnibus Objection is GRANTED

as set forth herein; and it is further

                ORDERED that the Claims to Be Partially Disallowed are hereby partially

disallowed; and it is further

                ORDERED that the Debtor’s right to object to the Remaining Claims or the

Litigation Master Claims is reserved; and it is further




                                                  2
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                ORDERED that Prime Clerk is authorized and directed to delete the disallowed

portions of the claims identified in Exhibit A to the Three Hundred Fifty-First Omnibus Objection

from the official claims register in the Title III Cases; and it is further

                ORDERED that this Court shall retain jurisdiction to hear and determine all matters

arising from or related to the implementation, interpretation, or enforcement of this Order.



Dated:


                                                       Honorable Judge Laura Taylor Swain
                                                        United States District Judge




                                                   3
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                                  ANEXO D

                               Orden propuesta
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                   TRIBUNAL DE DISTRITO DE LOS ESTADOS UNIDOS
                        PARA EL DISTRITO DE PUERTO RICO

In re:                                                           PROMESA
                                                                 Título III
JUNTA DE SUPERVISIÓN Y ADMINISTRACIÓN
FINANCIERA PARA PUERTO RICO,                                     Núm. 17 BK 3283-LTS
          como representante del                                 (Administrado Conjuntamente)
ESTADO LIBRE ASOCIADO DE PUERTO RICO et
al.,                                                             La presente radicación guarda
                       Deudores. 1                               relación con el ELA, la ACT y el
                                                                 SRE.

ORDEN POR LA QUE SE CONCEDE LA TRICENTÉSIMA QUINCUAGÉSIMA PRIMERA
OBJECIÓN GLOBAL (NO SUSTANTIVA) DEL ESTADO LIBRE ASOCIADO DE PUERTO
RICO, DE LA AUTORIDAD DE CARRETERAS Y TRANSPORTACIÓN DE PUERTO RICO
  Y DEL SISTEMA DE RETIRO DE LOS EMPLEADOS DEL GOBIERNO DEL ESTADO
    LIBRE ASOCIADO DE PUERTO RICO A RECLAMACIONES PARCIALMENTE
                        DUPLICADAS POR LITIGIOS

                 Vista la Tricentésima quincuagésima primera objeción global (no sustantiva) del

Estado Libre Asociado de Puerto Rico, de la Autoridad de Carreteras y Transportación de Puerto



1
    Los Deudores en los presentes Casos de Título III, junto con el respectivo número de caso de
    Título III y los últimos cuatro (4) dígitos del número de identificación contributiva federal de
    cada Deudor, en su caso, son i) el Estado Libre Asociado de Puerto Rico (el "ELA") (Caso de
    Quiebra Núm. 17 BK 3283-LTS) (Últimos cuatro dígitos de la identificación contributiva
    federal: 3481); ii) la Corporación del Fondo de Interés Apremiante de Puerto Rico ("COFINA")
    (Caso de Quiebra Núm. 17 BK 3284-LTS) (Últimos cuatro dígitos de la identificación
    contributiva federal: 8474); iii) la Autoridad de Carreteras y Transportación de Puerto Rico (la
    "ACT") (Caso de Quiebra Núm. 17 BK 3567-LTS) (Últimos cuatro dígitos de la identificación
    contributiva federal: 3808); iv) el Sistema de Retiro de los Empleados del Gobierno del Estado
    Libre Asociado de Puerto Rico (el "SRE") (Caso de Quiebra Núm. 17 BK 3566-LTS) (Últimos
    cuatro dígitos de la identificación contributiva federal: 9686); v) la Autoridad de Energía
    Eléctrica de Puerto Rico (la "AEE") (Caso de Quiebra Núm. 17 BK 4780-LTS) (Últimos cuatro
    dígitos de la identificación contributiva federal: 3747); y vi) la Autoridad de Edificios Públicos
    de Puerto Rico (la "AEP", y junto con el ELA, COFINA, la ACT, el SRE y la AEE, los
    "Deudores") (Caso de Quiebra Núm. 19-BK-5523-LTS) (Últimos cuatro dígitos de la
    identificación contributiva federal: 3801) (Los números de los casos de Título III están
    enumerados como números de Casos de Quiebra debido a ciertas limitaciones en el programa
    informático)
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Rico y del Sistema de Retiro de los Empleados del Gobierno del Estado Libre Asociado de Puerto

Rico a Reclamaciones Parcialmente Duplicadas por Litigios (la "Tricentésima quincuagésima

primera objeción global") 2 del Estado Libre Asociado de Puerto Rico (el "ELA"), de la Autoridad

de Carreteras y Transportación de Puerto Rico (la "ACT") y del Sistema de Retiro de los

Empleados del Gobierno del Estado Libre Asociado de Puerto Rico (el "SRE", y junto con el ELA

y la ACT, los "Deudores"), de fecha 18 de junio de 2021, en la que se solicita que se dicte una

orden que rechace parcialmente determinadas reclamaciones radicadas contra los Deudores, según

se expone con más detalle en la propia Tricentésima quincuagésima primera objeción global y los

anexos justificativos de la misma; y al tener el Tribunal jurisdicción para atender la Tricentésima

quincuagésima primera objeción global y para conceder el remedio en ella solicitado conforme a

PROMESA, sección 306(a); y siendo la sede judicial competente conforme a PROMESA, sección

307(a); y habiéndose efectuado, en tiempo y forma, la notificación de la Tricentésima

quincuagésima primera objeción global a aquellas partes que en ella se identifican, sin ser

necesario efectuar ninguna otra notificación; y siendo las reclamaciones identificadas en la

columna titulada "Reclamaciones que han de ser rechazadas parcialmente" del Anexo A de la

Tricentésima quincuagésima primera objeción global (conjuntamente, las "Reclamaciones que han

de ser rechazadas parcialmente") duplicadas, en parte, en relación con las Reclamaciones

Principales de Litigios; y habiendo determinado el Tribunal que el remedio solicitado en la

Tricentésima quincuagésima primera objeción global redunda en el mejor interés de los Deudores,

sus acreedores, y de la totalidad de las partes interesadas; y habiendo determinado el Tribunal que

las bases de hecho y de derecho establecidas en la Tricentésima quincuagésima primera objeción


2
    Los términos con mayúscula que no estén definidos en el presente documento tendrán el
    significado que les haya sido atribuido en la Tricentésima quincuagésima primera objeción
    global.


                                                2
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global establecen una causa justificada para el remedio aquí concedido; y tras la debida

deliberación y concurriendo suficientes motivos para ello, por medio del presente,

               SE ORDENA que SE CONCEDA la Tricentésima quincuagésima primera objeción

global, según se establece en el presente documento; además

               SE ORDENA que las Reclamaciones que han de ser rechazadas parcialmente sean

rechazadas parcialmente; asimismo

               SE ORDENA que el derecho que asiste a los Deudores a objetar a las

Reclamaciones Restantes o a las Reclamaciones Principales de Litigios quede reservado; también

               SE ORDENA que Prime Clerk quede autorizada, y reciba instrucciones, para

eliminar las partes rechazadas de las reclamaciones identificadas en el Anexo A de la Tricentésima

quincuagésima primera objeción global, del registro oficial de reclamaciones en el marco de los

Casos de Título III; y por último

               SE ORDENA que este Tribunal conserve jurisdicción para atender y resolver la

totalidad de las materias que surjan de, o en relación con, la implementación, interpretación o

ejecución de la presente Orden.



Fecha:


                                                    Su señoría, la juez Laura Taylor Swain
                                                    Juez de Distrito de los Estados Unidos
                                                    (United States District Judge)




                                                3
